
717 S.E.2d 390 (2011)
STATE of North Carolina
v.
Michael Chad DEATON.
No. 245P11.
Supreme Court of North Carolina.
August 25, 2011.
Bruce T. Cunningham, Jr., Southern Pines, for Deaton, Michael Chad.
Dahr Joseph Tanoury, Assistant Attorney General, for State of North Carolina.
Rick Shaffer, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 17th of June 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 25th of August 2011."
